Case 2:12-cr-00312-JLL    Document 45    Filed 08/06/12   Page 1 of 3 PageID: 70




                         UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY


 UNITED STATES OF RICA                     HonoraJle Jose L. Linares

             v.                   :        Criminal No. 12—312(JLL)

 JORGE 1NTONIO VILLRSANO                   ORDER FOR CONTINUANCE


             This matter having come before the Court on the joint

 application of Paul J. Fishman, United States Attorney for the

 District of New Jersey (Frances C. Bajada, Assistant United

 States Attorney appearing), and the defendant Jorge Antonio

 Villasano   (Tom Stanley, Esq., appearing),        for an order granting a

 continuance of the proceedings in the above-captioned matter,              and

 the defendant being aware that he has the right to have the

 matter brought to trial within 70 days of the date of his

 appearance before a judicial officer of this court pursuant to

 Title 18, United States Code,        Section 3161(c) (1),   and the

 defendant having consented to such a continuance, and it

 appearing that the defendant waives such right, and for good and

 sufficient cause shown,

             IT IS THE FINDING OF THIS COURT that this action should

 be continued for the following reasons:

             (1)   The discovery in this case involves audio and

 video recordings that defense counsel requires adequate time to

 review,   thus taking into account the exercise of diligence, the

 facts of this case require that defense counsel be permitted a
Case 2:12-cr-00312-JLL     Document 45      Filed 08/06/12   Page 2 of 3 PageID: 71




 reasonable amount of additional time for effective preparation
                                                                in
 this matter;

             (2)   Plea negotiations are currently in progress,            and
 both the United States and the defendant desire additional
                                                            time
 to negotiate a plea agreement, which would render trial
                                                         of this
 matter unnecessary; and

             (3)   As a result of the foregoing, pursuant to Title

 18, United States Code,       Section 3161(h) (7),      the ends of justice
 served by granting the continuance outweigh the best interest
                                                               of
 the public and the defendant in a speedy trial.

            IT IS, therefore, on this2                day of August 2012,

            ORDERED that this action be,          and hereby is,     continued

 until October 15,       2012; and it is further

            ORDERED that the period from the date of this order

 through October 15,      2012 shall be excludable in computing time

 under the Speedy Trial Act of 1974.




                                         6ESENARE1
                                         i,ted States District Judge




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Case 2:12-cr-00312-JLL   Document 45   Filed 08/06/12   Page 3 of 3 PageID: 72




 Form and entry




      s C. Bajad
Assistant u.s.
               Attorney




Counsel for the
                defendant Jorge 0
                                Afltj Villasano
